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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

MICHAEL J. SCHROEDER,                           )
                                                )
         Plaintiff,                             )       Cause No. 3:21-cv-00058
                                                )
vs.                                             )       DEFENDANT DEMANDS TRIAL BY JURY.
                                                )
BONANZA GOLD TRUCKING, INC.                     )       Madison County Circuit Court
and JOHN PATRICK PATTON,                        )       Case No. 2020L 001625
                                                )
         Defendants.                            )

                                 NOTICE OF REMOVAL
         COMES NOW Defendant Bonanza Gold Trucking, LLC (incorrectly named “Bonanza

Gold Trucking Inc.”), by and through the undersigned counsel, pursuant to 28 U.S.C. § 1446(b),

and hereby files this Notice of Removal of the above-captioned case to the United States District

Court for the Southern District of Illinois from the Circuit Court of Madison County, Illinois, and

for grounds of this Notice of Removal, states:

1.       The above-entitled action, now pending in the Circuit Court of Madison County, Illinois,

         was filed on November 18, 2020.

2.       According to Plaintiff’s Complaint, Plaintiff Michael J. Schroeder is a citizen of the State

         of Nevada. (See Plaintiff’s Complaint, attached hereto and incorporated as Exhibit 1, ¶3).

3.       A complaint asserting diversity jurisdiction must allege the citizenship of an individual

         defendant, not merely residence. 28 U.S.C. § 1332(a)(1); Meyerson v. Harrah’s East

         Chicago Casino, 299 F.3d 616, 617 (7th Cir. 2002); Held v. Held, 137 F.3d 998, 1000 (7th

         Cir. 1998).

4.       Defendant John P. Patton is a citizen of the State of Illinois. (Ex. 1, ¶5).
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5.       To determine if complete diversity exists, the Court must examine the citizenship of each

         member of a limited liability company. See White Pearl Inversiones S.A. (Uruguay) v.

         Cemusa, Inc., 647 F.3d 684, 686 (7th Cir. 2011); Belleville Catering Co. v. Champaign

         Market Place, LLC, 350 F.3d 691, 692 (7th Cir. 2003). The relevant pleading must

         affirmatively allege the specific state of citizenship of each member of the limited liability

         company, and “the citizenship of unincorporated associations must be traced through

         however many layers of partners or members there may be.” Meyerson, 299 F.3d at 617.

6.       Defendant Bonanza Gold Trucking, LLC, is a foreign corporation, organized and existing

         under the laws of the State of Missouri, with its principal place of business in Kingdom

         City, Missouri. Bonanza Gold Trucking, LLC, is a citizen of the State of Missouri. (Ex. 1,

         ¶4).

7.       Bonanza Gold Trucking, LLC’s sole Member, Tina Ann Turner, is a citizen of the State of

         Missouri.

8.       Defendant Bonanza Gold Trucking, LLC, was served with Plaintiff’s Complaint on

         December 17, 2020.

9.       As required by 28 U.S.C. § 1446(b), Defendant’s Notice of Removal is filed in this Court

         within thirty (30) days after the receipt by Defendant of a copy of Plaintiff’s Complaint in

         said action, setting forth a claim for relief upon which said action is based, which was

         served upon Defendant.

10.      The United States District Court for the Southern District of Illinois has diversity

         jurisdiction over this case because the matter in controversy exceeds the sum of $75,000.00

         and is between citizens of different states.




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11.      Therefore, pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over Plaintiff’s

         cause of action as complete diversity exists, authorizing removal to this Court pursuant to

         28 U.S.C. § 1446(b).

12.      As Plaintiff’s Complaint was originally filed in Madison County, Illinois, removal to this

         judicial district and division is appropriate pursuant to 28 U.S.C. § 1441(a).

13.      This Court has supplemental jurisdiction over all claims contained within Plaintiff’s

         Complaint, pursuant to 28 U.S.C. § 1367, because said claims arise between the same

         parties and out of the same controversy which serves as the basis of Plaintiff’s claims.

14.      Furthermore, as required by 28 U.S.C. § 1446(a), Defendant attaches a copy of all process,

         pleadings, and orders served upon Defendant in said action, attached hereto and

         incorporated as Exhibit 2.

15.      Contemporaneously with the filing of this Notice of Removal, and pursuant to 28 U.S.C. §

         1446(d), Defendant is filing a copy of this Notice of Removal with the Clerk of the Circuit

         Court of Madison County, Illinois, and is serving a copy on counsel for Plaintiff.

16.      Defendant John P. Patton has not been served with suit papers as of this date, so it is not

         necessary for him to join in this Notice of Removal. However, once served, he will be

         represented by the same counsel and will file his consent to this Removal.

17.      By virtue of this Notice of Removal, Defendant does specifically preserve its right to assert

         any claims, defenses or other motions, including, but not limited to, Rule 12 motions

         permitted by the Federal Rules of Civil Procedure.

         WHEREFORE, Defendant Bonanza Gold Trucking, LLC, prays this Honorable Court

accept jurisdiction of said action.

DEFENDANT DEMANDS TRIAL BY JURY.



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                                                      /s/ Steven J. Hughes
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        I hereby certify that a copy of the foregoing filed electronically with the Clerk of the Court
this 15 day of January 2021 to be served by operation of the Court’s electronic filing system upon
      th

the following or U.S. mail for parties not registered with CM/ECF, on this 15th day of January
2021: Mr. Patrick G. King, Attorney for Plaintiff, 2410 State Street, Alton, Illinois 62002; Email:
patrick@millerkinglaw.com.
                                                      /s/ Steven J. Hughes




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